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 4
 5   Attorney for JOSE RODRIGUEZ-RODRIGUEZ
 6
                                   UNITED STATES DISTRICT COURT
 7
                                   EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,                      Case No.: 2:16-cr-00009-TLN

11                    Plaintiff,                    STIPULATION AND ORDER
12                                                  VACATING DATE AND CONTINUING
                vs.                                 CASE
13
14   JOSE RODRIGUEZ-RODRIGUEZ,                      DATE: March 28, 2019
                                                    TIME: 9:30 a.m.
15                    Defendants.                   JUDGE: Hon. Troy L. Nunley
16
17
18              IT IS HEREBY STIPULATED by and between Assistant United States Attorney

19   Jason Hitt, Counsel for Plaintiff, and Attorney Clemente M. Jiménez, Counsel for

20   Defendant JOSE RODRIGUEZ-RODRIGUEZ, that the sentencing hearing scheduled for

21   March 28, 2019, at 9:30 a.m., be vacated and the matter continued to this Court’s

22   criminal calendar on May 16, 2019, at 9:30 a.m. for judgment and sentencing. US

23   Probation has indicated that the draft Pre-Sentence Report will be available by April 4,

24   2019. The parties will require additional time to review the draft report and respond

25   accordingly. The parties propose the following briefing schedule:

26   Draft PSR Due:          4/4/19

27   Informal Objections Due: 4/18/19

28   Final PSR due: 4/25/19
     Motion for Correction: 5/2/19



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 1   Reply, or Non-Opposition: 5/9/19
 2   J&S: 5/16/19
 3
 4
 5   DATED:        March 26, 2019             /S/   Jason Hitt
                                              McGREGOR SCOTT
 6                                            by JASON HITT
 7                                            Attorney for Plaintiff
 8
 9                                            /S/   Clemente M. Jiménez
                                              CLEMENTE M. JIMÉNEZ
10                                            Attorney for JOSE RODRIGUEZ-
11                                            RODRIGUEZ
12
13
                                              ORDER
14
15   IT IS SO ORDERED, that the sentencing hearing in the above-entitled matter, scheduled

16   for March 28, 2019, at 9:30 a.m. be vacated and the matter continued to May 16, 2019, at

17   9:30 a.m. for judgment and sentencing.

18
19   IT IS FURTHER ORDERED, that the schedule for disclosures be modified as proposed.

20
     This 26th day of March, 2019
21
22
23                                                     Troy L. Nunley
                                                       United States District Judge
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     03/26/19
